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Court Conference                                                                                        U.S. Bankruptcy Court-District of Delaware
           Calendar Date:                 11/30/2020                                                  Confirmed Telephonic Appearance Schedule
           Calendar Time:                 01:00 PM ET
                                                                                                                                        Honorable Karen B. Owens
                                                                                                                                                       Courtroom
                                                                                                                                          Amended Calendar Nov 30 2020 11:05AM

 Page #       Item #    Case Name           Case #      Proceeding        App ID Appearing              Telephone       Firm Name                         Representing
                        Dura Automotive     19-12378    Hearing          10976813   Joseph M. Barry     (302)           Young, Conaway Stargatt &         Interested Party, Zohar
                        Systems, LLC                                                                    571-6705 ext.   Taylor, LLP                       Lenders / LIVE
                        Dura Automotive     19-12378    Hearing          10978572   Brian Brager        (862)           Bradford Capital Management,      Creditor, Bradford
                        Systems                                                                         249-1349 ext.   LLC                               Capital Management,
                                                                                                                                                          LLC / LISTEN ONLY
                        Dura Automotive     19-12378    Hearing          10974531   Daniel N. Brogan    (302)           Bayard P.A.                       Debtor, Dura Automotive
                        Systems, LLC                                                                    655-5000 ext.                                     systems LLC / LIVE
                        Dura Automotive     19-12378    Hearing          10976385   Alix Brozman        (646)           Reorg Research, Inc.              Interested Party, Reorg
                        Systems, LLC                                                                    213-7400 ext.                                     Research / LISTEN
                                                                                                                                                          ONLY
                        Dura Automotive     19-12378    Hearing          10973763   Kevin M.            (302)           Benesch Friedlander Coplan &      Interested Party, Official
                        Systems, LLC                                                Capuzzi             442-7063 ext.   Aronoff, LLP                      Committee of
                                                                                                                                                          Unsecured Creditors /
                                                                                                                                                          LIVE
                        Dura Automotive     19-12378    Hearing          10978536   Steven H.           (302)           Bloomberg LP                      Non-Party, Steven
                        Systems, LLC                                                Church              661-7606 ext.                                     Church / LISTEN ONLY
                        Dura Automotive     19-12378    Hearing          10974600   Laura Davis         (302)           Pachulski Stang Ziehl & Jones     Representing, MBIA
                        Systems, LLC                                                Jones               778-6401 ext.                                     Insurance Corporation /
                                                                                                                                                          LIVE
                        Dura Automotive     19-12378    Hearing          10978806   Pratik Desai        (212)           Bardin Hill Investment Partners   Interested Party, Bardin
                        Systems, LLC                                                                    303-9480 ext.                                     Hill Investment Partners
                                                                                                                                                          / LIVE
                        Dura Automotive     19-12378    Hearing          10929444   Mark I. Duedall     (404)           Bryan Cave Leighton Paisner LLP   Interested Party,
                        Systems, LLC                                                                    572-6600 ext.                                     Randstad US, LLC /
                                                                                                                                                          LIVE
                        Dura Automotive     19-12378    Hearing          10974949   Stephen M.          (248)           McDonald Hopkins, LLC             Purchaser, DUS
                        Systems, LLC                                                Gross               220-1337 ext.                                     Operating Inc. / LIVE
                        Dura Automotive     19-12378    Hearing          10973765   Jennifer Hoover     (302)           Benesch Friedlander Coplan &      Interested Party, Official
                        Systems, LLC                                                                    442-7006 ext.   Aronoff, LLP                      Committee of
                                                                                                                                                          Unsecured Creditors /
                                                                                                                                                          LIVE
                        Dura Automotive     19-12378    Hearing          10974913   Ashley J. Jericho   (248)           McDonald Hopkins, LLC             Purchaser, DUS
                        Systems, LLC                                                                    593-2945 ext.                                     Operating Inc / LIVE
                        Dura Automotive     19-12378    Hearing          10975120   Shanti M. Katona    (302)           Polsinelli PC                     Purchaser, DUS
                        Systems, LLC                                                                    252-0924 ext.                                     Operating, INC / LIVE


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                        Dura Automotive   19-12378Case 19-12378-KBO
                                                    Hearing           Doc 1262
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                                                                            David Koch      (212)              Page 2 of 2Benson & Torres LLP
                                                                                                                  Kasowitz,                             Creditor, HAIN Capital /
                        Systems, LLC                                                                 547-1386 ext.                                      LISTEN ONLY
                        Dura Automotive   19-12378   Hearing          10978248   Robert Koltai       (201)           Hain Capital Group, LLC            Interested Party, Robert
                        Systems, LLC                                                                 896-6100 ext.                                      Koltai / LISTEN ONLY
                        Dura Automotive   19-12378   Hearing          10978477   Brian J. Lohan      (312)           Arnold & Porter Kaye Scholer LLP   Interested Party, DIP
                        Systems, LLC                                                                 583-2403 ext.                                      Lenders / LIVE
                        Dura Automotive   19-12378   Hearing          10974057   John D.             (302)           Ferry Joseph PA                    Interested Party, Hain
                        Systems, LLC                                             McLaughlin, Jr.     575-1555 ext.                                      Capital / LIVE
                        Dura Automotive   19-12378   Hearing          10978242   Bryant Oberg        (201)           Hain Capital Group, LLC            Interested Party, Bryant
                        Systems, LLC                                                                 896-6100 ext.                                      Oberg / LISTEN ONLY
                        Dura Automotive   19-12378   Hearing          10978519   Morgan L.           (302)           Womble Bond Dickinson (US)         Interested Party, DIP
                        Systems, LLC                                             Patterson           252-4326 ext.   LLP                                Lenders / LIVE
                        Dura Automotive   19-12378   Hearing          10974544   Gregory F.          (312)           Kirkland & Ellis LLP               Debtor, Dura Automotive
                        Systems, LLC                                             Pesce               862-2000 ext.                                      Systems, LLC / LIVE
                        Dura Automotive   19-12378   Hearing          10978087   Oscar N. Pinkas     (212)           Dentons US, LLP                    Creditor, Creditor's
                        Systems, LLC                                                                 768-6701 ext.                                      Committee / LIVE
                        Dura Automotive   19-12378   Hearing          10974382   Juliet Sarkessian   (302)           Office of the United States        U.S. Trustee, Juliet
                        Systems, LLC                                                                 573-6491 ext.   Trustee                            Sarkessian / LIVE
                        Dura Automotive   19-12378   Hearing          10974135   Adam L. Shiff       (212)           Kasowitz Benson & Torres LLP       Creditor, HAIN Capital /
                        Systems, LLC                                                                 506-1732 ext.                                      LIVE




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